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Chapter \3

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pv~¢.»!{, M. LU.-L_¢r ol§wv,_k~
The undersigned certifies that opposing counsel has been advised of this
withdrawal.

 

 

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